                                                                                                                                           FILED
                Case 3:15-cv-00880-L Document 1-3 Filed 03/19/15                             Page 1 of 11 PageID 10 DALLAS COUNTY
                                                                                                                            2/11/2015 10:04:09 AM
1 CIT - rsanchez@abergmanlaw.com                                                                                                     FELICIA PITRE
                                                                                                                                  DISTRICT CLERK

                                                                           DC-15-01^30                                            Candace Tyler

                                                         CAUSE NO.


           C L E A R VISION WINDSHIELD REPAIR, L L C ,                     {                     IN T H E DISTRICT C O U R T
           JAMES AMOS, PHILLIP COSTLOW, EDITH                              \
           GOINES, NATIIANAEL WAGNER, M A C K                              {
           MOREAU, KAREN MCCLIJRE ALEA                                     !
           K O B L E N Z T R A C Y F O R D , AND M I C H E L E             !
           ANTHONY                                                         {
                                                                                            160TH
                PLAINTIFFS                                                 !                          JUDICIAL DISTRICT


           v.

           A L L S T A T E F I R E AND C A S U A L T Y I N S U R A N C E
           COMPANY
                DEFENDANT                                                                       DALLAS COUNTY, T E X A S




                                                     P L A I N T I F F S ' ORIGINAL P E T I T I O N


           TO T H E HONORABLE JUDGE OF S A I D COURT:

                     COME N O W Clear Vision Windshield Repair, L L C , on its own behalf (hereinafter

           referred to as "Plaintiff Clear Vision") and on behalf of James Amos, Phillip Costlow, Edith

           Goines, Nathanael Wagner, Mack Moreau, Karen McClure, Alea Koblenz, Tracy Ford, and

           Michele Anthony (hereinafter referred to as "Insureds") (collectively referred to as "Plaintiffs")

           by and through an assignment               complaining o f Allstate Fire and Casualty Insurance Company

           (hereinafter referred to as "Defendant Insurance Company") and for cause o f action would

           respectfully show the Court the following:

                                                    DISCOVERY CONTROL PLAN

           2.        Discovery is intended to be conducted under Level 2 pursuant to Rule 190.3 of the Texas

           Rules of Civil Procedure.

                                                             CLAIM O F RELIEF


           3.        Plaintiff Clear Vision seeks monetary relief over $100,000 but not more than $200,000.

           Plaintiff Clear Vision affirmatively pleads that this suit is not governed by Rule 169 of the Texas


                                                                                                EXHIBIT
           PLAINTIFFS' ORIGINAL PETITION                                                                                l

                                                                                                 ft-1
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Rules o f Civil Procedure because Plaintiff Clear Vision seeks monetary relief i n excess o f

$100,000.00.

                                          T H E   PARTIES


4.      Plaintiff Clear Vision is a foreign corporation authorized to conduct business i n the State

of Texas.

5.      Plaintiff James Amos is an individual residing i n Harris County, Texas.

6.      Plainti f f Phillip Costlow is an individual residing in Montgomery County, Texas.

7.      Plaintiff Edith Goines is an individual residing i n Harris County, Texas.

8.      PIaintiff Nathanael Wagner is an individual residing i n Harris County, Texas.

9.      Plaintiff Mack Moreau is an individual residing i n Montgomery County, Texas.

10.     Plaintiff Karen McClure is an individual residing i n Montgomery County, Texas.

11.     Plaintiff Alea Koblenz is an individual residing i n Harris County, Texas.

12.     Plaintiff Tracy Ford is an individual residing i n Montgomery County, Texas.

13.     Plaintiff Michele Anthony is an indi vidual residing i n Harris County, Texas.

14.     Defendant Allstate Fire and Casualty Insurance Company is a foreign insurance carrier,

organized and existing under the laws o f the State o f Illinois and authorized to conduct business

in Texas, Defendant Allstate Fire and Casualty Insurance Company may be served w i t h

process by serving its designated agent for service of process, C T Corporation System at

1999 Bryan Street, Suite 900, Dallas, Dallas County, Texas 75201.

                                 VENUE AND JURISDICTION

15.     Pursuant to section §15.002 o f the Texas Civil Practices and Remedies Code, this action

is proper i n Dallas County, Texas, where the Defendant maintains a principal office i n this state.

Further, this Court has jurisdiction as the damages sought i n this case are within the jurisdictional




PLAINTIFFS' ORIGINAL PETITION                                                                     2
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limits of the Court.

                                     BACKGROUND F A C T S

16.     Plaintiff Clear Vision is in the business o f repairing chips i n automobile windshields. On

or about June o f 2014, Plaintiff Clear Vision repaired chips i n the windshield o f the Insureds'

vehicles.

17.     Each vehicle was covered by an insurance policy issued by Defendant Insurance

Company to the Insured. The identifying policy numbers are listed below. The respective

insurance policy provided coverage for the repair of the damaged windshield. Pursuant to the

terms of the insurance policy issued by Defendant Insurance Company and as mandated by the

Texas Insurance Code, Defendant Insurance Company is obligated to pay the "amount necessary

to repair or replace the property with other o f like kind and quality."

18.     Further, as do most insurance policies i n use i n Texas, the insurance policy issued by

Defendant Insurance Company waives the deductible for repair to the windshield of an Insured's

vehicle.

19.     In exchange for the repairs provided by Plaintiff Clear Vision, the Insured authorized the

Defendant Insurance Company to make payment directly to Plaintiff Clear Vision. Further, the

Insured executed an assignment wherein the Insured transferred all rights to reimbursement from

Defendant Insurance Company to Plaintiff Clear Vision. Additionally, the Insured assigned all

causes o f action for the Defendant Insurance Company's failure to make payment for the repairs

to Plaintiff Clear Vision.

20.     Since there is no deductible and it is the custom i n the repair industry and the insurance

industry for the repair company that performs the glass repair to the windshield to submit its

invoice for the repairs directly to the insurance company for payment, Plaintiff Clear Vision




PLAINTIFFS ' ORIGINAL PETITION                                                                   3
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submitted its invoices for the repairs to the Defendant Insurance Company.

21.      Defendant Insurance Company has made partial payments on some invoices and no

payment on others. To date, Defendant Insurance Company has refused to make f u l l payment f o r

the work as detailed below. The total amount outstanding on the invoices is $188.00.

22.      Plaintiff Clear Vision charges $60.00 for the first chip repair and any additional chips

repaired i n the same visit are charged out at $10.00 per additional chip repair. Plaintiff Clear

Vision has not received f u l l payment for the following jobs:

INSURED                           POLICY    DATE           COSTS           AMOUNT        AMOUNT
                                 NUMBER       OF             OF             PAID          OWED
                                            REPAIR         REPAIR
       James Amos            938 984 013   6-23-2014              $80.00       $59.00      $21.00

      Phillip Costlow        8 16 011277   6-23-2014              $80.00       $59.00      $21.00
                                10/02
       Edith Goines          8 16 795305   6-30-2014              $60.00            0      $60.00
                                12/25
 Nathanael Wagner            8 16 669596   6-30-2014              $60.00      $59.00*       $1.00

                                           6-23-2014              $80.00       $59.00      $21.00
Mack Moreau                  916 835 812
                                            6-24-2014             $80.00       $59.00      $21.00
Karen McCIure                986524652
                                            6-24-2014             $80.00       $59.00      $21.00
Alea Koblenz                 829 397 715
                                            6-25-2014             $70.00      $59.00**      $11.00
Tracy Ford                   816 889 946
                                            6-25-2014             $70.00        $59.00      $11.00
Michele Anthony              916 440 977
*Paid on 1/24/2015. Demand letter was sent 9/2/2014. However, payment did not include any
amount f o r attorney's fees.
** Paid on 1/16/2015. Demand letter was sent 9/2/2014. However, payment did not include any
amount for attorney's fees.

23.      Plaintiff Clear Vision brings this lawsuit on its own behalf and i n the name o f the

Insureds listed above, as assignee of the Insureds.

                                     BREACH OF CONTRACT



PLAINTIFFS ' ORIGINAL PETITION                                                                  4
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24.     For their first cause o f action against Defendant Insurance Company, the Plaintiffs

restate the preceding paragraphs as i f fully stated herein, and would further show the Court as

follows:

25.     A l l conditions precedent to Plaintiffs' claims for relief have been performed by the

Plaintiffs or have occurred.

26.     Plaintiff Clear Vision performed its obligation and provided the repair services. The

Insureds performed their obligations and made premium payments. A l l said insurance policies

were i n effect at the time o f the loss.

27.     I n the insurance and the glass windshield repair industries it is a trade usage or custom

that the glass repair company is paid directly by the insurance company for the repairs to the

vehicle. The fact that both the Defendant Insurance Company and Plaintiff Clear Vision were

aware of this custom is evident from the numerous prior partial payments made by the Defendant

Insurance Company to Plaintiff Clear Vision. It is further evidenced by the Defendant Insurance

Company's failure to reimburse its Insureds for the claim.

28.     Despite repeated demands, the Defendant Insurance Company has not fulfilled its

contractual obligation to make f u l l payment for the repair to the Insureds' vehicles.

29.     Defendant Insurance Company's actions constitute a breach o f contract. As a direct

consequence o f said Defendant Insurance Company's breach of contract, the Plaintiffs have

sustained damages.

30.     Further, Plaintiff Clear Vision on its own behalf and as assignee of the Insured has been

required to retain the undersigned counsel to file this civil action to recover damages.

Accordingly, the Plaintiffs seek all reasonable and necessary attorney's fees and costs incurred

by the Plaintiffs i n the prosecution of this action.




PLAINTIFFS' ORIGINAL PETITION                                                                 5
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               NEGLIGENT AND/OR INTENTIONAL                  MISREPRESENTATIONS


31.    For their second cause of action against Defendant Insurance Company, the Plaintiffs

restate and re-allege the preceding paragraphs as i f fully stated herein, and would further show

the Court as follows:

32.    Defendant Insurance Company misrepresented to the Plaintiffs pertinent facts and policy

provisions relating to coverage.

33.     Defendant Insurance Company misrepresented to Plaintiff Clear Vision that the

Insured's policy provided benefits which it did not have. Plaintiff Clear Vision relied upon the

Defendant Insurance Company's representations that it had these benefits that it did not have and

performed its repair services.

34.     As a direct proximate cause o f Defendant Insurance Company's misrepresentations to the

Plaintiffs, the Plaintiffs suffered damages.

                      VIOLATIONS OF T H E TEXAS INSURANCE CODE

35.     For their third cause o f action against Defendant Insurance Company, the Plaintiffs

restate and re-allege the preceding paragraphs as i f fully stated herein, and would further show

the Court as follows:

36.     Defendant Insurance Company has engaged i n unfair and/or deceptive acts and/or

practices in the business of insurance, i n violation of Chapter 541 o f the Texas Insurance Code.

37.     With respect to the claims brought on behalf of and i n the name of the Insureds,

Defendant Insurance Company violated Chapter 541 o f the Texas Insurance Code i n the

following respects:

            a) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.060(a)(1) o f the Texas Insurance Code through its
               "misrepresenting to a claimant a material fact and policy provision relating to
               coverage at issue;"


PLAINTIFFS'ORIGINAL PETITION                                                                     6
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            b) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.060(a)(2)(A) o f the Texas Insurance Code through its through its
               failure "to attempt i n good faith to effectuate a prompt, fair, and equitable
               settlement o f a claim submitted i n which the insurer's liability has become
               reasonably clear;"

            c) engaging in unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.060(a)(7 o f the Texas Insurance Code through its "refusing to pay
               a claim without conducting a reasonable investigation with respect to the claim;"

            d) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(1) of the Texas Insurance Code through its "making an
               untrue statement of material fact;"

            e) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(2) o f the Texas Insurance Code through its "failing to state a
               material fact necessary to make other statements made not misleading,
               considering the circumstances under which the statements were made;"

            f)   engaging in unfair and/or deceptive acts and/or practices prohibited by Chapter
                 541 section 541.061(3) o f the Texas Insurance Code through its "making a
                 statement i n a manner that would mislead a reasonably prudent person to a false
                 conclusion o f a material fact;"

            g) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(4) of the Texas Insurance Code through its "making a
               material misstatement o f law;"

            h) engaging in unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(5) o f the Texas Insurance Code through its "failing to
               disclose a matter required by law to be disclosed;"

            i)   engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
                 541 section 541.151(2) o f the Texas Insurance Code through its violation o f
                 section 17.46(b)(5) o f the Texas Business and Commerce Code through its
                 "representing that goods or services have sponsorship, approval, characteristics,
                 ingredients, uses, benefits, or quantities which they do not have;"

            j) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.151(2) of the Texas Insurance Code through its violation of
               section 17.46(b)(7) o f the Texas Business and Commerce Code through its
               "representing that goods or services are o f a particular standard, quality, or grade,
               or that goods are of a particular style or model, i f they are o f another;" and,
            k) engaging i n unfair and/or deceptive acts and/or settlement practices prohibited by
               Chapter 541 section 541.151(2) o f the Texas Insurance Code through its violation


PLAINTIFFS' ORIGINAL PETITION                                                                    1
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                 o f section 17.46(b)(12) o f the Texas Business and Commerce Code through its
                 "representing that an agreement confers or involves rights, remedies, or
                 obligations which i t does not have or involve, or which are prohibited by law."

38.     With respect to the claims brought by Plaintiff Clear Vision on its own behalf, Defendant

Insurance Company violated Chapter 541 of the Texas Insurance Code in the following respects:

            a) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.051(1 )(A) o f the Texas Insurance Code through its
               misrepresenting "the terms of the policy;"

            b) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541, section 541.051(1)(B) o f the Texas Insurance Code through its
               misrepresenting "the benefits or advantages promised by the policy;"

            c) engaging in unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(1) o f the Texas Insurance Code through its misrepresenting
               an insurance policy by "making an untrue statement of material fact;"

            d) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(2) o f the Texas Insurance Code through its misrepresenting
               an insurance policy by "failing to state a material fact necessary to make other
               statements made not misleading, considering the circumstances under which the
               statements were made;"

            e) engaging in unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(3) o f the Texas Insurance Code through its misrepresenting
               an insurance policy by "making a statement in a manner that would mislead a
               reasonably prudent person to a false conclusion o f a material fact;"

            f)   engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
                 541 section 541.061(4) o f the Texas Insurance Code through its misrepresenting
                 an insurance policy by "making a material misstatement of law;"

            g) engaging i n unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.061(5) o f the Texas Insurance Code through its misrepresenting
               an insurance policy by "failing to disclose a matter required by law to be
               disclosed;" and,

            h) engaging in unfair and/or deceptive acts and/or practices prohibited by Chapter
               541 section 541.151(2) o f the Texas Insurance Code through its violation of
               section 17.46(b)(12) of the Texas Business and Commerce Code through its
               "representing that an agreement confers or involves rights, remedies, or
               obligations which i t does not have or involve, or which are prohibited by law."




PLAINTIFFS' ORIGINAL PETITION                                                                 8
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39.      Defendant Insurance Company's unfair and deceptive acts and practices set forth above

are and each was a producing cause o f damages to the Plaintiffs, for which the Plaintiffs now

sue.    Further, Defendant Insurance Company's unfair and deceptive acts and practices were

committed knowingly; therefore, the Plaintiffs should recover, in addition to the actual damages,

an amount up to three times the amount o f the actual damages.

40.      Plaintiff gave Defendant Insurance Company notice as required.

41.      Further, as a result of Defendant Insurance Company's unfair and deceptive acts and

practices set forth above, the Plaintiffs incurred reasonable and necessary attorney's fees i n the

prosecution o f the present case for which they now sue.

                     VIOLATION OF PROMPT PAYMENT OF CLAIMS

42.      For their fourth cause o f action against Defendant Insurance Company, the Plaintiffs

restate and re-allege the preceding paragraphs as i f fully stated herein, and would further show

the Court as follows:

43.      Defendant Insurance Company failed to adhere to the time deadlines set forth in Chapter

542.051 et seq. of the Texas Insurance Code requiring the prompt payment o f claims submitted

by an insured. As a result of said violation o f Chapter 542.051, the Plaintiffs are entitled to the

statutorily imposed penalty of eighteen percent (18%) interest per year on the amount o f the

claim and attorney's fees.

                                  CONDITIONS P R E C E D E N T

44.      A l l conditions precedent to Plaintiffs' claims for relief have been performed by the

Plaintiffs or have occurred.

                                   CONSTITUTIONAL L I E N

45.      Under article X V I , section 37, o f the Texas Constitution, Plaintiff Clear Vision holds a

lien on the insurance benefits held by Defendant Insurance Company owed pursuant to the

PLAINTIFFS' ORIGINAL PETITION                                                                    9
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repairs performed by Plaintiff Clear Vision because Plaintiff Clear Vision repaired the vehicles

as requested by the Insureds at the price charged by Plaintiff Clear Vision.

        WHEREFORE, PREMISES CONSIDERED, the Plaintiffs request that upon final trial

the Plaintiffs have and recover o f and f r o m the Defendant Insurance Company:

        1. judgment against Defendant Insurance Company f o r damages as set forth above;

        2. reasonable attorney's fees;

        3. prejudgment and post-judgment interest at the maximum legal rate;

        4. exemplary and/or treble damages;

        5. 18% annual interest penalty;

        6   costs o f court; and,

        7. such other and further relief, at law or i n equity, to which the Plaintiffs may be justly

            entitled.

                                                      Respectfully submitted,

                                                      /s/JayK. Gray
                                                      GRAY L A W
                                                      Jay K. Gray
                                                      State Bar No. 08324050
                                                      4514 Travis Street
                                                      Travis Walk, Suite 300
                                                      Dallas, Texas 75205
                                                      214-528-2444
                                                      214-599-0602 [fax]
                                                      ikurtisCTav@vahoo.com

                                                      ANDREW A. BERGMAN, P.C.
                                                      Andrew A . Bergman
                                                      State Bar No. 02196300
                                                      4514 Travis Street
                                                      Travis Walk, Suite 300
                                                      Dallas, Texas 75205
                                                      214-528-2444
                                                      214-599-0602 [fax]
                                                      bergman@abergmanlaw.com
                                                      ATTORNEYS FOR PLAINTIFFS


PLAINTIFFS' ORIGINAL PETITION                                                                     10
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                   Case 3:15-cv-00880-L Document 1-3 Filed 03/19/15                                                                Page 11 of 11 PageID 20DALLAS COUNTY
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              C A U S E N U M B E R (FOR CLERK USE ONLY):                                                             _ C O U R T (FOR CLERK USE ONLY) : _
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              S T Y L E D C L E A R VISION WINDSHIELD REPAIR. L L C . JAMES AMOS. PHILLIP COSTLOW. EDITH GOINES. NATHANAEL WAGNER, M A C K M O R E A U ,
                      K A R E N M C C L U R E . A L E A K O B L E N Z . T R A C Y FORD. M I C H E L E ANTHONY V . A L L S T A T E F I R E AND C A S U A L T Y INSURANCE C O M P A N Y
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental health case
or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at the       offfling.
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              t iiifn iati(m fur nrrstm I'imuilrtiiii;
                                                                                                                                                 ^Attorney for Plainufl/Petitioner
                                                  Email:                                            Plaintiff(s)/Petitioner(s):                  • P r o Se Plaintiff/Petitioner
   Name:
                                                  bergman@abergmanlaw.com                           Clear Vision Windshield Repair, L L C        • T i t l e TV-D Agency
   Andrew A. Bergman                                                                                                                             •Other:
                                                                                                    James Amos
                                                                                                    Phillip Costlow
   Address:                                       Telephone:                                        Edith Goines
                                                                                                                                                 Additional Parties in Child Support Case:
   4514 Travis Street, Suite 300                  214-528-2444                                      Nathanael Wagner
                                                                                                    Mack Moreau
                                                                                                                                                 Custodial Parent
                                                                                                    Karen McClure
    City/State/Zip:                                Fax:                                             Alea Koblenz
    Dallas, Texas 75205                            214-599-0602                                     Tracy Ford                                   Non-Custodial Parent:
                                                                                                    Michele Anthony


    Signature:                                     State Bar No:                                    Defendant(s)/Respondent(s):                  Presumed Father:
                                                    02196300
                                                                                                    Allstate Fire and Casualty Insurance
                                                                                                    Company
  P £ i i d r i <lc (.»<* typt ondtulifv thi most important issue in Uu last                   (\ikttonl\
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      •Debt/Contract                        -•Defamation                               •Partition                             Divorce                      •Modification—Other
       •Fraud/Misrepresentation             •Malpractice                               • Q u i e t Title                         • W i t h Children
      • O t h e r Debt/Contract                •Accounting                             •Trespass to Try Title                    • N o Children           •Enforcement/Modification
                                               •Legal                                  • O t h e r Property:                                              •Paternity
    Foreclosure                                •Medical                                                                                                   •Kiuprocals(TJIFSA)
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     •Termination                                Competition                            • Securities/Stock
     •Workers' Compensation                   • C o d e Violations                      •Tortious Interference
     • O t h e r Employment:                ~ •Foreign Judgment                         •Other:
                                              •intellectual Property


                                                                                                            Probate   & Mental   Health
      • T a x Appraisal                        Probate/Wills/Intestate    Administration                                •Guardianship—Adult
      • T a x Delinquency                         •Dependent Administration                                             •Guardianship—Minor
      • O t h e r Tax                             •independent Administration                                           •Mental Health
                                                  • O t h e r Estate Proceedings                                        • Other:


     3; Indicate procedure or remedy, if appliiabk- {may 'i jh^ffljffFffliia -l)
      • A p p e a l from Municipal or Justice Court                     •Declaratory Judgment
      •Arbitration-related                                              •Garnishment
      •Attachment                                                       •interpleader
      • B i l l of Review                                               •License
      •Certiorari                                                       •Mandamus
      • C l a s s Action                                                •Post-judgment
     4. Indicate damages sought {da       iwfitlea                               ••••
      0L^"than^ $i6o,u6o"inciuding damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
      • L e s s than $100,000 and non-monetary relief
      • O v e r $100, 000 but not more than $200,000
      • O v e r $200,000 but not more than $1,000,000
      • Over $1,000,000                      '
